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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 BRIAN LYNGAAS, D.D.S., individually )
 and as the representative of a class of )      Case No. 17-cv-12867
 similarly-situated persons,             )
                                         )      Hon. Terrence G. Berg
                             Plaintiff,  )      Mag. Elizabeth A. Stafford
v.                                       )
                                         )      CLASS ACTION
 J. RECKNER ASSOCIATES, INC. d/b/a )
 RECKNER HEALTHCARE and                  )
 CALCIVIS, LTD.,                         )
                                         )
                           Defendants.   )
                                                                                   /

    DEFENDANT, CALCIVIS, LTD.’S, MOTION REQUESTING ORDER
    GRANTING DEFNDANT’S MOTION FOR SUMMARY JUDGMENT

         Defendant, Calcivis, LTD., through its counsel, Maddin, Hauser, Roth &

Heller, P.C., and for its Motion Requesting Order Granting Defendant’s Motion

For Summary Judgment, states as follows:

         1.   On August 30, 2017, Plaintiff, Brian Lyngaas, D.D.S. (“Plaintiff” or

“Lyngaas”) filed his complaint against Co-Defendant, J. Reckner Associates, Inc.,

d/b/a Reckner Healthcare (“Defendant” or “Reckner”), arising out of Defendant

Reckner’s alleged violations of the Telephone Consumer Protection ACT

(“TCPA”) and Conversion.

         2.   Nearly two years later (20 months later), on April 16, 2019, Plaintiff



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filed his First Amended Class Action Complaint joining Defendant, Calcivis, LTD.

(“Defendant” or “Calcivis”), as a party.

         3.   On January 27, 2021, a hearing was held on Defendant Calcivis’s

Motion for Summary Judgment (“MSJ”).

         4.   Although the Court has not yet ruled on the MSJ, the Court alluded to

potential questions of fact at the MSJ hearing, which may be addressed by

additional discovery.

         5.   Since the MSJ hearing, Defendant Calcivis has deposed two Reckner

employees: 1) David Reckner, President of Defendant Reckner, and 2) Susan

Phillippe, Direct of Reckner’s Healthcare Group and the Reckner employee who

negotiated the agreement between Reckner and Calcivis.

         6.   The Reckner deposition testimony eliminates the potential questions

of fact discussed during the MSJ hearing, and summary judgment is warranted.

         7.   On April 26, 2021, Calcivis filed a Supplemental Motion for

Summary Judgment based-on the Reckner deposition testimony supporting that

Calcivis had no knowledge of the fax at issue in this matter. ECF No. 64.

         8.   Plaintiff’s response was due within 21 days, on or before May 17,

2021.




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         9.    At Plaintiff’s request, Defendant Calcivis stipulated to an extension

allowing Plaintiff to respond on or before June 7, 2021. (Exhibit A: Order re:

Extension).

         10.   Plaintiff failed to file a response in accordance with the order.

         11.   At Plaintiff’s second request for extension, Defendant Calcivis

stipulated to a second extension allowing Plaintiff to respond on or before June 30,

2021. (Exhibit B: Second Order re: Extension).

         12.   To date, Plaintiff has not filed a response to Defendant Calcivis’s

Supplemental Motion for Summary Judgment.

         13.   On July 12, 2021, this Court entered an order that Plaintiff was

required to file a response in accordance with the Eastern District of Michigan LR

7/1(e). ECF No. 67. Plaintiff has not complied with this Court’s order.

         14.   The Court shall grant summary judgment if the movant shows that

there is no genuine dispute as to any material fact and the movant is entitled to

judgment as a matter of law. FRCP 56.

         15.   If a party fails to properly address another party’s assertion of fact, the

court may consider the fact undisputed, or grant the motion for summary judgment.

FRCP 56(e)(2)(3).

         16.   In this case, Defendant Calcivis has filed a Supplement Motion for

Summary Judgment based on Reckner’s testimony that Calcivis is an innocent


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party under the TCPA and that Calcivis had no knowledge of the fax that Reckner

sent to the Plaintiff. See, ECF 64. By failing to file a response, Plaintiff has failed

to address Reckner’s deposition testimony and/or provide sufficient evidence to the

Court to raise a genuine issue of material fact for trial. The Reckner testimony is

undisputed under FRCP 56(e). Thus, Defendant’s Motion for Summary Judgment

should be granted.

         WHEREFORE, Defendant Calcivis respectfully requests that this honorable

Court enter an order granting Defendant’s Motion for Summary Judgment and

dismissing Defendant from this case with prejudice.

                                    Respectfully submitted,

                                    MADDIN, HAUSER, ROTH & HELLER, P.C.

                                    /s/ John A. MacKenzie
                                    Michelle C. Harrell (P48768)
                                    John A. MacKenzie (P80386)
                                    28400 Northwestern Highway
                                    Suite 200 – Essex Centre
                                    Southfield, MI 48034
                                    (248) 354-4030
Dated: August 16, 2021              jmackenzie@maddinhause.com
                                    Attorneys for Defendant Calcivis




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                             PROOF OF SERVICE

        I hereby certify that on August 16, 2021, I electronically filed the above
documents and this Proof of Service with the Clerk of the Court using the ECF E-
Filing system, which will send notification of such filing to those who are currently
on the list to receive e-mail notices for this case.
                                             MADDIN, HAUSER, ROTH & HELLER, P.C.

                                          By: /s/ Sarah E. Morris
                                             Sarah E. Morris




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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 BRIAN LYNGAAS, D.D.S., individually )
 and as the representative of a class of )   Case No. 17-cv-12867
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 J. RECKNER ASSOCIATES, INC. d/b/a )
 RECKNER HEALTHCARE and                  )
 CALCIVIS, LTD.,                         )
                                         )
                           Defendants.   )




               DEFENDANT, CALCIVIS, LTD.’S, BRIEF IN SUPPORT OF ITS
              SUPPLEMENTAL MOTION FOR SUMMARY JUDGMENT
                            PURSUANT TO F.R.C.P. 56




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         Defendant Calcivis relies on its motion and respectfully requests that this

honorable Court enter an order granting Defendant’s Motion for Summary

Judgment and dismissing Defendant from this case with prejudice.

                                     Respectfully submitted,

                                     MADDIN, HAUSER, ROTH & HELLER, P.C.

                                     /s/ John A. MacKenzie
                                     Michelle C. Harrell (P48768)
                                     John A. MacKenzie (P80386)
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                                     Southfield, MI 48034
                                     (248) 354-4030
                                     mharrell@maddinhauser.com
Dated: August 16, 2021               jmackenzie@maddinhause.com
                                     Attorneys for Defendant Calcivis

                               PROOF OF SERVICE

          I hereby certify that on August 16, 2021, I electronically filed the above
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system, which will send notification of such filing to those who are currently on
the list to receive e-mail notices for this case.

                                           MADDIN, HAUSER, ROTH & HELLER, P.C.

                                           By: /s/ Sarah E. Morris
                                              Sarah E. Morris




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                             INDEX OF EXHIBITS

         A.   Order re: Extension

         B.   Second Order re: Extension




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